Case 5:24-cv-12647-JEL-KGA ECF No. 18, PagelD.653 Filed sores Rage Lyf 3, 4 (3)
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COUNTY OF MUSKEGON)

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AFF IDAVIT.OF .DEPHONSO WILSON #267992

My name is Dephonso Wilson and I stete that at the eae of 17. I wes picked
up et my place in Bey City, Michiqan for the Sth time by Detroit Pelice
Officers and taken te different hotels in Detroit, MI fer the puroose of
engeging in Sex with other women 17 end 16.
Whet wes goed ebout it wee that I met elet of peenie, like Sean Combs,
I wes et several meetings with Mr. Combs and a Judae out of Detroit whe wes
known as Kym Worthy-She wes the lady whe took down those 2 white cons for
killing Melic Green with fleshlichts. Anvyuey, et one meeting in June 1987, I
wes et e@ meeting with Derrick end Kym end seme other people but Sean Combs
vas there too end Derrick geve some money, which wes aver $100,000.00
dollars to Kym Worthy and she geve it to Sean Combs, end they signed 2 Big
Agreement on the hood of Derrick's Cer--Derrick hed just got done hittine
Sean Combs with « tire iron efter he hed taken out 2 of hie Body Guerds--he
wes med--He wes yelling some stuff ebout, "You Just reced me esshole"
em going to Kill you Sean!--

Then Kym Werthy hed seid thet she would "Put some renpes oan Derrick if

Derrick Meseec up her investment in Combe! And thet she would Kill Derrick's
Family! Derrick then hed te celm dewn and Then he went te the Hospitel.

and

ts

I was scared ebeut #11 this beceusc this is « Seen Combs ond ho hed ¢ Ist of
powcr, Bad Bey Records.. Sa I stayed Cuict, then I saw Combs Got Arrested
amd I slso sau that Derrick hed sucd him ond ot, Foam coming ferwerd now
because Kym Warthy covered up a Rene enc Teok Mency from Dorricsk and gave it
to Seen Combs--
I will testify to theee feets 4f you went me te heceuss they hercened ond
Thet women covered it un and kent it #21 quisct.
I alec heerd her ecy te the Cther Police te Get the Repe Kit enc Aring it
beck to her.
VERTFICATICN
avents beesuse they hespened and ere reel end trues
cad sew them with my aun tyes.

a fo ar 2) _Ioitay Geteber 14, 2024
wr. Dephonso Wilson #267992

£.G. Brooks Correctional Facility
§. Sheridan Drive
Muskegen, MI &okks

Slt Lory Doody
NOTARY) PUBLIC

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OCT 24 2024

B JONES
Notary Public, State of Michigan
County of Muskegon > Mo CLERK'S OFFICE
My Commission Expires whe ane DETROIT
Acting in the County of agen
A cow

Case 5:24-cv-12647-JEL-‘KGA ECF No. 18, PagelD.654 Filed 10/24/24 -Page 2 of 3

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Rye, Sean’ Combs; -

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Combs ond Condicl our orders. Xo Shoes = sual hy Yo. Sean

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Case 5:24-cv-12647-JEL-KGA
NAME: Mr. Derrick Use Cardello-Smith
Number, #267009
Address:_E.C. Brooks Correctional fecility

Adoress:_ 2500 S. Sheridan Drive
Muskegon, MI 49444

Mailed on 10-9-24

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Office of the Clerk

United States District Court
Theodore Levin US Courthouse
231 W. Lefayette Blvd
Detroit, MI 48226

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